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UAET (02-2008)




                 Unopposed Application for Extension of Time to Answer Complaint
                     Attach this form to the Application for Extension of Time to Answer Complaint event.



C ASE   AND      D EADLINE INFORMATION



Civil Action No.: 2:18-cv-228
Name of party requesting extension: Sears Brands, L.L.C.
Is this the first application for extension of time in this case?                         ✔ Yes
                                                                                              No
            If no, please indicate which application this represents:                         Second
                                                                                              Third
                                                                                              Other ___________
Date of Service of Summons: 5/25/18
Number of days requested:                   ✔ 30 days
                                                 15 days
                                                 Other _____ days
New Deadline Date: 7/24/18                       (Required)


A TTORNEY FILING       APPLICATION INFORMATION




            Full Name: Jason C. White
            State Bar No.: IL 6238352
            Firm Name: Morgan, Lewis & Bockius LLP
            Address: 77 W. Wacker Drive, Fifth Floor
                         Chicago, IL 60601


            Phone: 312.324.1000
            Fax: 312.324.1001
            Email: jason.white@morganlewis.com
                  A certificate of conference does not need to be filed with this unopposed application.
